Case 0-U0-/424/-dte DOC 1-2 Filed Vo/V0/Uo Entered Vo/QO/V6 OYOF06

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): Seth Muraskin CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed “ Related Cases” for purposes of E.D.N.Y .LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within six years before the filing of the new petition, and the debtors in such cases: (i) are the same; (il)

are spouses or ex-spouses; {iii) are affiliates, as defined in 11 U.S.C. § 101 (2); (iv) are general partners in the same partnership;

(v} are a partnership and one or more of its general partners; (vi} are partnerships which share one or more common general

partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that
was or is included in the property of another estate under 11 U.S.C. § 541{a) |]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
OQ) THE FOLLOWING RELATED CASE({S} IS PENDING OR HAS BEEN PENDING:

1. CASE NO.:: JUDGE: DISTRICT/DIVISION: !
CASE STILL PENDING (Y/N):_N_ [/f closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above).

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” ("REAL PROPERTY”} WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION: f
CASE STILL PENDING (Y/N}:_N [/¥ closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
{Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

(OVER)
Case 0-U0-/424/-dte DOC 1-2 Filed Vo/V0/Uo Entered Vo/QO/V6 OYOF06

DISCLOSURE OF RELATED CASE §S (cont'd)

3. CASE NO.: JUDGE: DISTRICT/DIVISION: /

CASE STILL PENDING (Y/N}:_N {if closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer fo NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE “A” ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may
not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:
1 arm admitted to practice in the Eastern District of New York (Y/N}: —_Y —
CERTIFICATION (te be signed by pro se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

| certify under penalty of perjury that the within bankrupicy case is not related to any case now pending or pending at any time,
except as indicat lsewhere on this form.

Marc A. Pergament Se Muraskin
Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner

2 William Street
Setauket, New York 11733

Mailing Address of Debtor/Petitioner

City, State, Zip Code

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor

or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismissal! of the case with prejudice.

NOTE : Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

USBC-2 Rev.0245/4
